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                            LINITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                                                              Lrt 26.i5o veG/6(-I
 UNITED STATES OF AMERICA,                                INDICTMENT

                      Plaintiff,                           l8 u.s.c. $ e22(eXl)
                                                           18 U.S.C. $ e2a(e)(1)
       V.


 GREGORY LYNN MCCOY,


                      Defendant.

      THE I.INITE,D STATES GRAND JURY CHARGES THAT:

                                          COUNT      1
                  (Armed Career Criminal in Possession of a Firearm)

      On or about October 22.2019. in the State and District of Minnesota. the defendant.

                                GREGORY LYNN MCCOY.

having previously been convicted of the following offenses, each of which was punishable

by imprisonment for   a   term exceeding one year:

                                                                              Conviction Date
 Offense                                                 Court                (on or about)
 Burglary of an Occupied Dwelling                        Stearns County       1983
 Possession of a Molotov Cocktail                        Hennepin County      1986
 Simple Robbery                                          Hennepin Countv      1989
 Attempted Third Degree Burglary                         Hennepin County      t99l
 Aidine and Abettine Third Desree Burglary               Anoka Countv         t99s
 Receiving Stolen Proper8                                Anoka County         t995
 Assault in the Second Deeree                            Ramsev Countv        t99s
 Felon in Possession of a Firearm                        U.   S.   District   2000
                                                         Court
                                                         (Minnesota)



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and knowing he had been convicted of a crime punishable by a term                  of imprisonment

exceeding one year, knowingly and intentionally possessed,                in and affecting   interstate

commerce, an         MC l9ll .45 caliber semi-automatic pistol, manufactured in Turkey,            and

bearing serial number T6368-13           AA0l22l.

           All in violation of Title   18, United States Code, Sections   922(g)(l) and924(e).

                                   FORFEITURE ALLEGATION

           If   convicted of Count 1 of this Indictment, the defendant shall forfeit to the United

States pursuant        to Title 18, United States Code, Section 924(d)(l), and Title 28, United

States Code, Section 246I(c), any firearm with accessories or any ammunition involved in

or used in any knowing violation of Section 922(g)(I), including the following firearm:

that certain MC         l9ll   .45 caliber semi-automatic pistol, manufactured in Turkey and

bearing serial number T6368-13 AA0l22l, and all magazines and ammunition associated

with it.

           If   any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in Title

21, United States Code, Section 853(p).

           All in violation of Title 21, United States Code,   Sections 846 and 853(a)(1) and (2).

                                             A TRUE BILL




LINITED STATES ATTORNEY                                 FOREPERSON
